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                          Exhibit 9:
       Dr. Sarah Esther Lageson Expert Report
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       EXPERT DECLARATION OF DR. SARAH ESTHER LAGESON

BACKGROUND AND QUALIFICATIONS

   1. I am an Associate Professor with tenure at Rutgers University-Newark
School of Criminal Justice in New Jersey. I have worked at Rutgers since August
2015.

  2. I received an MA in Sociology (2012) and a PhD in Sociology (2015) at the
University of Minnesota-Twin Cities.

   3. In my current position at Rutgers, I teach undergraduate and graduate
courses, and research the impact of digital technologies on legal systems and
criminal punishment.

    4. I conduct qualitative and quantitative research, including experimental
studies, analyses of criminal record data, interviews with people who have criminal
records, fieldwork at expungement seminars and legal aid offices, and assessments
of administrative data and public policy. I also serve as a peer reviewer for scienti-
fic journals, textbooks, and funding agencies.

    5. My research has been reviewed and validated through the peer review
process and has been published in academic journals in criminology, sociology,
and public policy. In the past five years, my peer-reviewed publications have been
cited over 900 times by other researchers. 1 In 2020, I published a peer reviewed
book with Oxford University Press, Digital Punishment: Privacy, Stigma, and the
Harms of Data Driven Criminal Justice. I am the recipient of external funding and
research grants, including from the United States Department of Justice and the
American Bar Foundation.

   6. My research has been covered by major media outlets, including the New
York Times, the Guardian, the LA Times, CNN, and National Public Radio.

   7. My curriculum vitae is attached as Exhibit A and details all my publications
from the last ten years.


   1
     Google Scholar profile for Dr. Sarah Esther Lageson, showing 949 citations to
research. Retrieved October 1, 2021, from
https://scholar.google.com/citations?user=ElyL7y0AAAAJ&hl=en.
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  8. Prior to this case, I have provided expert testimony for Taha v. Bucks County
Pennsylvania et al, No. 12-CIV-06867 (E. D. Pa.), A.N. v. Alamogordo Police
Department, No 2:18-CV-00173 (D.N.M.), and Doe v. Barr, No. 2:20-CV-03434-
CJC-AGR (C.D. Cal). 2

    9. I was approached by counsel for the plaintiffs in this matter and asked to
state my professional opinion concerning the relationship between technology and
sex offender registries, as well as the existence of and types of harms resulting
from the public dissemination of information about a person’s registry status in the
state of Michigan.

  10. The purpose of this report is to provide a synopsis of the scientific literature
documenting the impacts of internet-based criminal information disclosure,
including my own research in this area, and externally validated, peer-reviewed
research conducted by other social scientists.

SUMMARY OF OPINION

   11. Technology has dramatically changed the form, function, and reach of
registry information in the nearly two decades since the U.S. Supreme Court in
Smith v. Doe, 538 U.S. 84 (2003), held that sex offender registration is analogous
to a visit to an official archive of criminal records.

   12. The architecture and user functions available on the Michigan registry
encourage browsing, mapping, and tracking registrants, rather than accessing
targeted archival information.

  13. The design, language, and functionality of Michigan’s registry website
represent each person listed as a current danger to society, regardless of whether
the person presents such a risk and even though the registry lacks individualized
review.

  14. The online disclosure of registry information has both increased and
expanded the economic, social, and psychological harms of being listed on a
registry. I use the term “digital punishment” to describe how online information,
spread to innumerable sites and sources, damages registrants far beyond the type
and extent of harm the Supreme Court considered in 2003 when it decided Smith.


   2
       Of these cases, only Taha went to trial, where I testified in court.
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   15. Registry information is routinely scraped, copied, aggregated, and re-posted
to private websites. In a departure from the earlier schemes that required users to
conduct a targeted search for particular registrants on a government-run website,
registrants’ personal information is now routinely harvested to drive web traffic to
specific websites and to increase “clicks” through posting registrant information
on, for example, real estate and other public records websites.

  16. These changes in how the internet organizes and disseminates registry data
means that websites “push” registrant data on internet users who are not even
looking for such information.

   17. The ubiquity of registry information on the internet leads registrants to
purposefully avoid digital and institutional spaces that rely on the internet, which,
in today’s world, constitute the vast majority of public and private life.

  18. Registrants’ opting out of institutional and social life through “digital
avoidance” has consequences for recidivism and public safety, because it makes it
more difficult for registrants to access the basic necessities shown to prevent crime,
such as safe and stable housing, employment, and community relationships.

   19. The consequences of digital labeling through the format of the Michigan
registry and the attendant dissemination of registry information on private websites
ultimately undermines public safety by making pariahs of registrants, effectively
cutting them out of social, institutional, and technological life.

OPINION

Changes in the internet and data sharing technologies have fundamentally
changed the nature of registries and dramatically increased the intensity and
effects of their attendant stigmatization

Digital Punishment

  20. My research shows that the unprecedented rise of the information age has
fundamentally changed the function, scope, and permanence of state-operated
registry websites. I call this change “digital punishment” because that is the most
accurate way to describe the effects of the digital criminal label.

  21. Digital punishment occurs when state criminal justice agencies publish
personally identifying information about registrants on the internet and implement

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technological tools that encourage digital tracking, monitoring, and public shaming
of people on registries. 3

   22. These state disclosures of data that allow for the ongoing monitoring of
registrants – by not only the state, but by private actors – are then re-disseminated
across the internet, as they are cataloged, indexed, sold, and shared by third parties.
A person’s registry status becomes digitally linked to their name and is
continuously retrievable via basic internet searches – indeed, it is often the first
thing that will show up on a search of the person’s name on Google. 4

   23. The digital punishment of registrants is a special case of technologically-
driven “collateral consequences,” 5 a term typically used to describe “civil”
sanctions and restrictions that are imposed based on a criminal conviction 6 and that
limit or prohibit opportunities across social, economic, and political domains. 7 Due
to the highly stigmatizing nature of a sexual conviction, as well as the advanced
internet tracking capabilities made possible by the Michigan registry, collateral
harms are greater for registrants than for people with other types of criminal
convictions or records. 8

   3
     Lageson, Sarah Esther. “Digital punishment’s tangled web.” Contexts 15, no.
1 (2016): 22-27; Corda, Alessandro, and Sarah Esther Lageson. “Disordered
punishment: Workaround technologies of criminal records disclosure and the rise
of a new penal entrepreneurialism.” The British Journal of Criminology 60, no. 2
(2020): 245-264.
   4
     Lageson, Sarah Esther. Digital Punishment: Privacy, Stigma, and the Harms
of Data Driven Criminal Justice. Oxford University Press, 2020.
   5
     National Inventory of Collateral Consequences of Conviction.
https://niccc.csgjusticecenter.org/.
   6
     Uggen, Christopher and Robert Stewart, “Piling On: Collateral Consequences
and Community Supervision,” Minnesota Law Review 99, no. 5 (January 2015):
1871, 1875.
   7
     Hagan, John and Ronit Dinovitzer, “Collateral Consequences of Imprisonment
for Children, Communities, and Prisoners,” Crime and justice 26 (1999): 121;
Michael Pinard, “Collateral Consequences of Criminal Convictions: Confronting
Issues of Race and Dignity.” NYU Law Review 85 (2010): 457; see also this online
database: “National Inventory of the Collateral Consequences of Conviction.”
Justice Center, The Council of State Governments. Accessed February 19, 2020.
https://niccc.csgjusticecenter.org/.
   8
     Tewksbury, Richard. “Collateral consequences of sex offender
registration.” Journal of Contemporary Criminal Justice 21, no. 1 (2005): 67-81.
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  24. Unlike an archive of static criminal record information, the Michigan
registry provides a constantly updated set of personal information about registrants,
conveying that registrants pose a current serious public safety risk. The Michigan
registry therefore disrupts rehabilitative and desistance processes that, as
established by decades of research on the cognitive and social elements of crime
prevention, are essential to successful reentry. 9

   25. Federal courts have recognized that the digital transformation has changed
the practical realities of governmental records and individual privacy interests. In
2016, the Sixth Circuit noted that while the disclosure of booking photos twenty
years ago was thought to do no harm, “the internet and social media have worked
unpredictable changes in the way photographs are stored and shared.” 10 Overruling
a 1996 decision, this decision pointed to how changes in technology have reshaped
an individual’s privacy interests in materials related to their criminal proceedings,
precisely because of the internet’s permanent archive of such materials, with
instant access by anyone from anywhere in the world.

Advanced digital tracking, monitoring, and public labeling of risk in the
Michigan registry

   26. The format, presentation, and user options for the Michigan registry website
allow for advanced information gathering and tracking of registrants. The website
also provides personal information that is more detailed than information about
people with criminal convictions posted to public court websites and criminal
history websites run by the state of Michigan.

   27. The Michigan registry website posts the following information: current
photograph, name, registration number, MDOC number, status, age and date of
birth, last verification date, compliance status, sex, race, hair color, height, weight,
eye color, home address, work address, aliases, offenses, scars/marks/tattoos, and
vehicle identification information. (Michigan law also requires many registrants to
report to the state all of their internet identifiers, e.g., social media usernames;
while the registry does not currently post this information, Michigan law
authorizes it to do so.)

   9
     Lageson, Sarah Esther, and Shadd Maruna. “Digital degradation: Stigma
management in the internet age.” Punishment & Society 20, no. 1 (2018): 113-133.
   10
      Detroit Free Press Inc. v. United States Dep't of Justice, 829 F.3d 478, 486
(6th Cir. 2016).
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  28. Because registrants are required to actively report their personal information,
the website contains not just historical conviction records, but continuously
updated information about exactly where a person lives and works, what they
currently look like, and what vehicles they drive.

   29. The public registry allows users to “browse” lists of registrants, rather than
requiring a targeted name or address search like most sources of public state
criminal record data. Users can enter a city, town, or neighborhood name or simply
access the entire list of all registrants through the registry website.




Screenshot of Michigan registry home page, which notes that the purpose of the registry is to protect the
public from the risks posed by registrants and that labels the button to enter the registry database as an
option to search for offenders in one’s broad geographic area. Source: Accessed 6 October 2021,
https://mspsor.com/.

  30. An internet user who searches a specific address, city, county, or zip code
will pull up an interactive map of the location of all registrants within a specified
radius, and need only click on the small black registrant icons to pull up the photo
and all the registry details on each individual in the area.




                                                     6
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Michigan registry mapping and browsing capabilities, here showing registrants in the City of Grand
Rapids on a Google map integrated into the registry website. Source: Accessed 6 October 2021,
https://mspsor.com/Home/MultiOffenderMap?RadiusStreetAddress=&RadiusCity=grand+rapids+city&
RadiusZip=&RadiusMiles=5&RadiusCounty=.

   31. The Michigan registry’s browse function is thus unlike the process outlined
in Smith, where “an individual seeking the information must take the initial step of
going to the Department of Public Safety’s Web site, proceed to the sex offender
registry, and then look up the desired information.” 11 Unlike the Alaska registry
two decades ago in that case, the way Michigan’s registry functions today is much
more akin to forcing a person to appear in public on the internet: the new public
forum. And within that public sphere, the individual is labeled by the state as a
dangerous sex offender.



   11
        Smith v. Doe, 538 U.S. 84, 99 (2003).
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   32. The active publicization of the stigmatizing label is even more pronounced
through the web architecture of the Michigan registry, as internet users need not
search for information about specific individuals or locations to have information
provided to them showing that a neighbor or colleague is on the registry.




Screenshot of broad search and browse options available on the Michigan registry website. Source:
Accessed 7 October 2021 at 5:58 PM, https://mspsor.com/Home/Search.

   33. The Michigan registry also allows a user to actively “track” an offender
through an email signup and notification system. This option is not available for
other types of criminal history information made publicly available through the
state.

   34. In contrast to the registry, other forms of state public criminal record
information require a targeted search of a specific person, do not allow for the
browsing of lists of convicted persons, and do not include mapping, tracking, or
alert capabilities.

  35. For example, Michigan criminal court records internet portals provide a
summary of a person’s legal history accessible only through a targeted search for
that particular person. To conduct a search of court records, a user is typically
required to submit both the first and last name of the person under inquiry and to


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complete a captcha (an internet tool that requires a user to click an image to prove
that the user is a person and not a machine).

  36. Michigan criminal court records websites typically post the following
personal information: name, attorney name, criminal charges, court events, and
hearings. 12 This information is entirely historical, i.e., it does not include rolling
updates of personal information like the ones on the Michigan registry.

  37. Criminal history reports are also available for purchase from vendors,
including both private background check companies and state repositories, and the
Internet Criminal History Access Tool (ICHAT) in Michigan. 13

  38. ICHAT users must submit the first name, last name, date of birth, race,
gender, and reason for search to obtain a criminal history report for a fee.

  39. The Michigan registry, in contrast, allows a user to actively “track” an
offender through an email signup and notification system. This option is not
available for other types of criminal history information made public by state or
local governments in Michigan. Thus, the tracking functions of the registry select
out these types of convictions as particularly dangerous (and therefore in need of
such ongoing monitoring by law enforcement and the public), as compared to
convictions for other crimes outside the sexual arena.




   12
      Sample internet court records were obtained from Odyssey Public Access
(OPA) for the Third Judicial District of Michigan at:
https://www.3rdcc.org/odyssey-public-access-(opa).
   13
      Sample criminal history records were sourced through the Michigan Internet
Criminal History Access Tool (ICHAT) at https://apps.michigan.gov/.
                                            9
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Options for users to track registrants and receive updates. The registrant’s name has been blurred to
protect their identity. Source: Accessed 1 October 2021 at 9:55 AM. 14



  40. The Michigan registry also reports whether or not a registrant is
“compliant.” This suggests that the registrant is being continuously supervised
because the registrant remains currently dangerous to the public.




Registry compliance status as reported on state website. Source: Accessed 30 September 2021 at 9:13
AM. 15


  41. Unlike other forms of public criminal records available through the State of
Michigan’s websites, the registry also allows internet users to “map” the registrant
and “submit a tip” directly to authorities.


    14
      The links searched have not been included because doing so would disclose
the identity of the registrants pictured. Those links are on file with the author and
can be provided to the Court upon request.
   15
      https://mdocweb.state.mi.us/otis2/otis2profile.aspx?mdocNumber=644836.

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      User options to track, map, or report a registrant on the registry website
      Source: Accessed 30 September 2021 at 9:15 AM.

  42. The registry thus allows for a highly interactive user experience that (a)
communicates that registrants are an especially dangerous class of people with
convictions and (b) encourages and enables much more serious — and more
pervasive — intrusions on registrants’ privacy than those inflicted on individuals
with other types of criminal histories.

   43. Unlike the static, archival posting of court and criminal history records made
available to the public only through targeted searches, the registry website states:
“This registry is made available through the Internet with the intent to better assist
the public in preventing and protecting against the commission of future criminal
sexual acts by convicted sex offenders.” This messaging signals a highly danger-
ous type of criminal who requires constant public monitoring and scrutiny, while
also assigning elevated stigma and leading the public to believe that all registrants
are dangerous.

   44. Another key difference is that registries consist of regularly updated,
registrant-provided data, rather than the archival nature of other forms of criminal
record information. For example, the presentation of updated photographs and
addresses may create the public perception that a person with a sexual offense
conviction is a current public safety threat or that their offense was recent. This
may pose particularly harmful perceptions for a long-ago offense that involved
consensual sex between an of-age teen and an underage teen that resulted in
registration but is now associated with the identification of a grown adult. For
example, an internet user viewing a photograph of a 55-year-old registrant who is
listed for “criminal sexual conduct III (person 13-15)” will likely assume that there
was a 40-year age gap, when in fact, given the age of the offense, the registrant
may be listed for having had a teenage relationship.



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  45. In sum, the interface, text, and tracking options included in the registry
website do not simply provide historical conviction information, but present
registrants as presently dangerous.

The changing internet context and “pushes” of registrant data to users

   46. Smith v. Doe was argued in 2002, when the internet was a vastly different
tool. Wikipedia was one year old. 16 In 2001, only 3% of Americans said they got
most of their information about the 9/11 attacks from the internet. 17 The average
internet user spent 83 minutes online per day. In 2002, only 44% of people who
had internet access at work said the internet helped them do their jobs. 18

  47. In November 2002, the month Smith was argued, only 15% of Americans
had access to broadband internet in their homes. Today, that number is 77%, 19 with
an additional 15% of Americans using smartphones only to access the internet at
home. 20 While only 59% of American adults used the internet at all in 2002, today
93% of American adults use the internet. 21 In 2002, only 6% of Americans said
they would have a hard time giving up their Blackberry or other wireless email
device. 22 By 2021, 85% of Americans own a smartphone. 23

   16
      Wikipedia, “History of Wikipedia.” Accessed 27 September 2021.
https://en.wikipedia.org/wiki/History_of_Wikipedia.
   17
      Pew Research. “World Wide Web Timeline.” Accessed 27 September 2021.
https://www.pewresearch.org/internet/2014/03/11/world-wide-web-timeline/.
   18
      Ibid.
   19
      Ibid.
   20
      Pew Research, “Mobile Technology and Home Broadband 2021.” 3 June
2021. Accessed 27 September 2021.
https://www.pewresearch.org/internet/2021/06/03/mobile-technology-and-home-
broadband-2021/.
   21
      Pew Research, “Internet/Broadband Fact Sheet.” Accessed 27 September
2021. https://www.pewresearch.org/internet/fact-sheet/internet-broadband/.
   22
      Pew Research, “Mobile internet moves into the mainstream.” 25 March 2008.
Accessed 27 September 2021.
https://www.pewresearch.org/internet/2008/03/25/mobile-internet-moves-into-the-
mainstream/.
   23
      Pew Research, “Mobile Technology and Home Broadband 2021.” 3 June
2021. Accessed 27 September 2021.
https://www.pewresearch.org/internet/2021/06/03/mobile-technology-and-home-
broadband-2021/.
                                         12
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  48. Internet use has been especially crucial during the COVID-19 pandemic
lockdowns. 90% of Americans reported that the internet has been “essential or
important” to them and 40% used technology in new ways because of the
pandemic. 24

   49. As noted above, in Smith, the majority opinion described the process of
accessing registrant information as follows: “An individual seeking the information
must take the initial step of going to the Department of Public Safety’s Web site,
proceed to the sex offender registry, and then look up the desired information. The
process is more analogous to a visit to an official archive of criminal records than it
is to a scheme forcing an offender to appear in public with some visible badge of
past criminality.” 25 This characterization not only does not reflect how Michigan’s
registry operates today, but also does not reflect how registrant information that is
originally posted on a state registry like Michigan’s is reproduced on the internet.
Rather than requiring an internet user to seek out registrant information by
accessing a governmental database or criminal record archive, this information is
now routinely pushed or provided to web users even without their intent to access
such records.

  50. Public records, including registrant information, have become a valuable
data commodity. 26 In particular, registrant information has become a valuable data
source for websites that aggregate public records to create reports about people and
places. In these largely unregulated web services, companies supply and display
geo-specific registry information without a user ever making a specific request.
Registry information is scraped from governmental sources and repackaged into a
web product that is pushed to internet users.

  51. For instance, Homefacts.com, a site that provides neighborhood information,
supplies registrant information along with information about property prices and
school ratings. The image below shows a free Homefacts report about Detroit that
uses registry data as a key indicator of an area overview.



   24
      Pew Research, “The Internet and the Pandemic.” Accessed 27 September
2021. https://www.pewresearch.org/internet/2021/09/01/the-internet-and-the-
pandemic/
   25
      Smith v. Doe, 538 U.S. 84, 99 (2003).
   26
      Lageson, Digital Punishment.
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Homefacts.com use of registry information to create city assessment reports. Source: Accessed 7 October
2021 at 2:19 PM.

  52. Scrolling down the Homefacts webpage, a user is provided with a set of
registrants, including their photographs and home addresses.




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Homefacts.com dissemination of registrant photographs and personal information. Photos and home
addresses have been blurred to protect the identities of registrants featured on this website. Source:
Accessed 7 October 2021 at 2:21 PM.

   53. Companies like Homedisclosure.com similarly aggregate public records to
create customized reports based on an address for prospective home-buyers, using
registry records to flag “concerns” and “alerts” for a specific location based on the
number of registrants nearby. A sample report from Homedisclosure.com shows
the prevalence of registry data in crafting their address scores. Here again, an
internet user is provided local registrant information without requesting such
information in the first place.




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Homedisclosure.com report that highlights registrants in the targeted area. Source: Accessed 27
September 2021 at 10:33 AM at https://homedisclosure.com/samplereport.


   54. Other companies aggregate public records to sell “people search” reports to
consumers. In these reports, companies now proactively include registrant informa-
tion for people who live nearby the target of the search, pushing registrant data to
internet users who are seeking information on a different person altogether.

  55. For instance, the web service Instant Checkmate provides background
reports that draw upon public records databases and report addresses, criminal
histories, and social media accounts for the search target. However, Instant
Checkmate also affirmatively posts registrant information for people who live in
proximity to the search target. A sample Instant Checkmate report provided by the
company displays the registrant data included on background check reports for
non-registrants.

                                                  16
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      Sample Instant Checkmate report advertising integration of registrant photographs, offense, and
      link to purchase a background report. Source: Accessed 27 September 2021 at 1:53PM,
      https://www.instantcheckmate.com/crimewire/post/instant-checkmate-sample-report/.

   56. Similarly, city-data.com offers a broad set of information about cities,
towns, and zip codes, including population demographics, weather patterns, real
estate taxes, tourist attractions, industries and occupations, and education. The site
also offers its own sex offender locator, built directly into the website. Clicking on
a search result reveals the name, home address, sex, age, eye color, hair color,
height, weight, scars/marks/tattoos, and race of the registrant.




                                                17
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      City-data.com registered sex offender tool integrated into its website. Source: Accessed 1
      October 2021 at 9:45 AM.

   57. Importantly, none of these private companies push or proactively provide
criminal conviction information for any other type of criminal record, including
violent crime or homicide. Nor do these third-party websites report any personal
information about people with other criminal convictions, such as their home
address or photograph. Instead, these websites elect only to provide registry
information, something which state-run websites like the Michigan registry made
especially easy, by allowing for other users to access their continually-updated data
on registrants. This allows third parties to easily copy and repost the registry to
other sources and websites.


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  58. Private entities have also aggregated registrant information posted to state
websites and created new, private databases of such information to generate
income through reposting information contained in state registries. Family-
watchdog.us, for instance, is owned by an Indiana-based for-profit company called
FWD Holdings 27 that aggregates registry information from states and repackages it
for internet users to their site.

  59. The website hosts advertisements and links to other for-profit records
aggregators, such as BeenVerified.com. For instance, a search result for an address
reveals a map of registrants and also includes an advertisement to the registrant’s
BeenVerified background check, a non-Fair Credit Reporting Act compliant
private background check available for sale to consumers. 28 Thus, various for-
profit websites work in concert to monetize registrant data across web services.

  60. Familywatchdog.us provides sales packages to media entities, law enforce-
ment agencies, and other private companies seeking to mine registry data or host
maps or mobile applications showing the locations of registrants, effectively using
public registrant information as a for-profit data commodity. 29




   27
       FWD Holdings Incorporated is a domestic, for-profit corporation located at
2230 Stafford Road, Suite 115, Plainfield IN 46168 and operating under Indiana
Business ID 2009081300027. See https://bsd.sos.in.gov/PublicBusinessSearch/.
    28
       “People search” websites like Instant Checkmate and BeenVerified do not
consider their businesses Consumer Reporting Agencies and thus do not comply
with the requirements of the Federal Fair Credit Reporting Act. Users are warned
that the background checks they purchase are not checked for accuracy and are not
to be used for hiring or housing decisions.
    29
       FamilyWatchdog, “Business,” Accessed 27 September 2021.
https://www.familywatchdog.us/servicetext/Business.asp.
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Familywatchdog.us options for registrant tracking and links to advertisers selling background reports on
registrants revealed through searches. Source: Accessed 27 September 2021 at 1:38 PM at
https://www.familywatchdog.us/.

   61. Mobile apps also collect and aggregate registrant data into new formats that
allow “push notifications” that affirmatively alert users when they are in proximity
to a registrant’s address.




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Mobile apps that source registrant information and aggregate onto private platforms. Source: Accessed
27 September 2021 at 1:50 PM,
https://play.google.com/store/apps/collection/cluster?clp=ggEOCgxzZXggb2ZmZW5kZXI%3D:S:ANO1lj
KZJrw&gsr=ChGCAQ4KDHNleCBvZmZlbmRlcg%3D%3D:S:ANO1ljK0TBw&hl=en_US&gl=US.

   62. In sum, changes in internet infrastructure and database technology over the
nearly two decades since Smith v. Doe have transformed registry information from
a government-run source that a user had to intentionally access into a large scale,
private-sector data commodity that is duplicated, aggregated, and pushed to
innumerable internet users who passively receive registrant information without
even intending to access it. The fact that the internet “pushes” registrant data, even
where registrant information is not actively sought by a member of the public,
illustrates how internet technology has fundamentally altered the scope, reach, and
function of registries.

  63. The unusually detailed and continually updated nature of the information
provided in the Michigan registry in turn enables a growing ecosystem of private
sector uses of registry data for surveillance, stigmatization and shaming purposes.
These new functions and the broad reach of registry information make today’s
registries completely unlike those considered by the Supreme Court in Smith.

Search Engine Optimization and Registry Records

   64. Search engine optimization has increased public access to registrants’
personal information because the nature of such information is prioritized by
internet search engine algorithms, frequently causing the registrant’s status on the

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registry and personal information, such as home address, to end up among the top
search results for a registrant’s name in a basic internet search.

   65. The use of internet-based registries and the aggregation and re-posting of
registrant information has allowed search engines, like Google, to “index”
information posted to governmental websites and incorporate text into search
results. As “search engine spiders” continuously “crawl” public webpages, 30 a
basic Google search for that person’s name will often return a link to a govern-
mental sex offender registry website. 31

  66. Search results are ranked by how often an internet user clicks a link. Due to
the “shock value” of sex offender information in the search results for a person’s
name, links to websites that post registry information often maintain dominance as
top results for an individual. 32

  67. The high ranking of registry-related websites is further compounded by
search engine optimization factors that purposefully increase the visibility of
governmental websites when users run a basic query. Governmental sites are
considered by Google algorithms to be more “trustworthy” and thus more likely to
hold a dominant position in search results. 33

   68. Analytics provided by Google Trends shows that people have increasingly
turned to search engines to seek out registrant information, potentially making it
unnecessary to conduct targeted searches of a government-run registry, the original
intent of publishing such official websites in the first place. Put different, a user
used to directly seek out the state registry website to look for an individual
person’s registry status. That information is now readily available via a routine
Google search. This means that users no longer have to seek out registry
information; instead they can inadvertently learn a person is on a registry through a


   30
      “Search Engine Optimization (SEO) Starter Guide,” Google, accessed
September 11, 2020:
https://support.google.com/webmasters/answer/7451184?hl=en.
   31
      Pierce, Doug. “The SEO Behind Mugshot Websites,” Cogney, October 7,
2013, https://www.cogney.com.hk/blog/mugshot-seo/.
   32
      Pierce, Doug, “The SEO Behind Mugshot Websites,” Cogney, October 7,
2013, https://www.cogney.com.hk/blog/mugshot-seo/.
   33
      Digital.gov. “Why government websites need SEO.” May 2, 2013:
https://digital.gov/2013/05/02/why-government-websites-need-seo/.
                                         22
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basic, generic search for an individual. Search engine algorithms boost this type of
information, multiplying access to a variety of sources that post registry data. 34




Google Trends analysis of internet search term “sex offender near me” from 2004-2021. Source:
Accessed 28 September 2021,
https://trends.google.com/trends/explore?date=all&geo=US&q=sex%20offender%20near%20me.

  69. Accessing registry data used to involve an active exchange of information
between the registry websites and an internet user. Today, registry information is
disseminated broadly across the internet due to the which, as noted above, is unlike
Smith v. Doe’s analogy to visiting a criminal records archive. 35 The Michigan
registry and the attendant private websites have duplicated and disseminated these
data into the public sphere – the internet – in a manner far beyond how the internet
operated nearly twenty years ago.




   34
      Google Trends, “Sex Offender Near Me.” Accessed 28 September 2021,
https://trends.google.com/trends/explore?date=all&geo=US&q=sex%20offender%
20near%20me.
   35
      Schuler, Rus. “How Does the Internet Work?” Stanford White Paper (2002).
Retrieved from: https://web.stanford.edu/class/msande91si/www-
spr04/readings/week1/InternetWhitepaper.htm.
                                                23
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The Michigan registry creates discriminatory harms and leads to institutional
and digital avoidance

   70. It is generally accepted by social scientists that being labeled a criminal
sexual offender is strongly correlated with a broad set of stigmatization and harms,
including discrimination in employment, housing, education, and civic and
community organizations, as well as social, psychological, and personal
stigmatization, alienation, and public humiliation. These correlations have been
tested, peer reviewed, and validated across multiple disciplines, including
economics, sociology, criminology, psychology, and empirical legal studies.

  71. Social scientists have detailed the specific collateral consequences for
registrants, which show social stigmatization, loss of relationships, barriers to
employment and housing, and verbal and physical assaults. 36

  72. In the case of the Michigan registry, the requirement to publish (and update)
the address of a registrant’s employer may contribute to employment-based
discrimination, because employers are likely to be reticent about being publicly
associated with a registrant.

  73. Numerous studies have detailed the difficulties in obtaining housing for
people on the registry. 37 Quasi-experimental research has demonstrated that
convictions for sex-related offenses are more stigmatized than other convictions
and lead to more discrimination within the housing market. 38

  74. In the case of the Michigan registry, the requirement to publish one’s current
home address may contribute to housing discrimination, as landlords are likely to
be reticent about having their property address associated with the Michigan
registry and posted to third party websites that push registrant data to users.


   36
      Tewksbury, Richard. “Collateral consequences of sex offender
registration.” Journal of Contemporary Criminal Justice 21, no. 1 (2005): 67-81.
   37
      Tewksbury, Richard, Elizabeth Ehrhardt Mustaine, and Shawn Rolfe. “Sex
offender residential mobility and relegation: The collateral consequences
continue.” American Journal of Criminal Justice 41.4 (2016): 852-866; Williams,
Monica. The Sex Offender Housing Dilemma. New York University Press, 2018.
   38
      Evans, Douglas N., and Jeremy R. Porter. “Criminal history and landlord
rental decisions: A New York quasi-experimental study.” Journal of Experimental
Criminology 11.1 (2015): 21-42.
                                          24
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Institutional Avoidance

  75. When a person’s sex offender status “pops up” on the internet, the social
consequences can be devastating for individuals, especially in public social
environments like schools, workplaces, civic organizations, and religious
institutions. 39

  76. Evidence shows that this personal and social stigmatization leads people to
purposefully “opt out” of formal institutional arrangements and relationships that
might trigger a Google search, also referred to as institutional and systems
avoidance. 40

   77. This avoidance has professional, economic, personal and familial conse-
quences, 41 and has been linked to decreases in civic and political engagement, 42
such as volunteering (which in turn has been linked to a lower likelihood of future
arrest). 43

Digital Avoidance

  78. People who are publicly stigmatized on the internet also exhibit “digital
avoidance” – a purposeful opting out of digital spaces that may trigger an internet

   39
       Lageson, Sarah Esther. “Found out and opting out: The consequences of
online criminal records for families,” The ANNALS of the American Academy of
Political and Social Science 665, no. 1 (2016): 127. While most of the research in
this area has been about the consequences of being identified on the internet as a
person with a criminal record, being identified as a sex offender is even more
stigmatizing. In addition, as discussed, registry information is more likely to be
“pushed” out on the internet unlike other criminal history information.
    40
       Brayne, Sarah. “Surveillance and System Avoidance: Criminal Justice
Contact and Institutional Attachment,” American Sociological Review 79, no. 3
(June 2014): 367.
    41
       Lageson, Sarah and Christopher Uggen, “How Work Affects Crime—And
Crime Affects Work—Over the Life Course;” Goffman, Alice. On The Run:
Fugitive Life in an American City (Chicago: University of Chicago Press, 2014)
    42
       Lerman, Amy E., and Vesla M. Weaver. Arresting citizenship: The
democratic consequences of American crime control. University of Chicago Press,
2014.
    43
       Uggen, Christopher, and Jennifer Janikula. “Volunteerism and arrest in the
transition to adulthood.” Social forces 78, no. 1 (1999): 331-362.
                                         25
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search for their name. 44 This means choosing not to use routine technologies. Such
digital avoidance further reduces the ability of registrants to engage in pro-social
behaviors known to reduce crime, such as securing safe and stable employment
and housing. 45

  79. Research shows that people stigmatized on public registries resort to self-
policing their behavior and avoid using the internet to avoid further publicizing
their stigmatizing label. 46

   80. Registry requirements exacerbate these effects when laws require registrants
to publicly disclose all internet identities they have created, generating another
powerful incentive not to use the internet.

   81. The impact of digital avoidance is especially harmful in light of the ubiquity
of the internet in daily life, particularly during the pandemic, where 90% of
Americans say the internet has been essential or important. 47 In general, 3 in 10
American adults report that they are almost “constantly” online. 48 Only 7% of
Americans report that they do not use the internet regularly. 49

   82. Not having an online identity can be harmful to employment prospects. The
Society of Human Resources Management, for example, reports that a lack of
social media presence can hurt job seekers, citing a CareerBuilder study that 35%
of employers are less likely to interview applicants they can’t find online. 50


   44
       Lageson, Digital Punishment at 118-122.
   45
       Ibid.
    46
       Ibid.
    47
       Pew Research, “The Internet and the Pandemic,” 1 September 2021.
Accessed 1 October 2021, https://www.pewresearch.org/internet/2021/09/01/the-
internet-and-the-pandemic/.
    48
       Pew Research, “About three-in-ten U.S. adults say they are ‘almost
constantly’ online,” 26 March 2021. Accessed 1 October 2021,
https://www.pewresearch.org/fact-tank/2021/03/26/about-three-in-ten-u-s-adults-
say-they-are-almost-constantly-online/.
    49
       Pew Research, “7% of Americans don’t use the internet. Who are they?” 2
April 2021, Accessed 1 October 2021, https://www.pewresearch.org/fact-
tank/2021/04/02/7-of-americans-dont-use-the-internet-who-are-they/.
    50
       Society of Human Resources Management, “Lack of Social Media Presence
Can Hurt Job Seekers.” 18 May 2015. Accessed 1 October 2021,
                                         26
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   83. The internet is also a primary way people connect socially. The percentage
of U.S. adults who use at least one social media site has steadily grown since the
early 2000’s, with 72% of adults now reporting they access social media. 51 Regis-
trants who are reticent to report social media accounts are effectively shut out of
this central social platform.

   84. Social media is also increasingly used as a communications tool between
people and government and other institutions. For example, experts report that
social media is increasingly used by local governments to post essential informa-
tion to constituents. 52 Requiring registrants to publicly disclose their social media
credentials may lead them off platforms that deliver important public information
or are fora for public debate. Similarly, many news websites require usernames or
social media logins to read or comment on articles. Relatedly, this means that a
registrant’s use of any site with these credentialing requirements would become
known to the state and, if the registrant’s identifiers are posted online as
Michigan’s law allows, also become known to the public.

   85. The integration of social media and email accounts directly into other
websites also poses obstacles for registrants. Internet sites now routinely allow
users to log in using social media credentials, such as a Facebook account. At
times, these logins happen automatically, allowing social media to track a person’s
activity on other websites through their account. 53 This means that for registrants,
entire categories of routine websites may be impacted by the requirement under
Michigan law to register any website account with the state. Not knowing whether
or not their social media or email accounts have been linked to other websites will
likely contribute to digital avoidance to avoid risking an inadvertent registration


https://www.shrm.org/resourcesandtools/hr-topics/technology/pages/lack-of-
social-media-presence-can-hurt-job-seekers.aspx.
   51
      Pew Research, “Social Media Fact Sheet.” Accessed 1 October 2021,
https://www.pewresearch.org/internet/fact-sheet/social-media/.
   52
      Husing, Chris, “How Social Media is Elevating Engagement for Local
Government,” Governing 24 February 2020. Accessed 7 October 2021,
https://www.governing.com/now/how-social-media-is-elevating-engagement-for-
local-government.html.
   53
      Experian, “Is it safe to use Facebook to login to other sites?” 29 April 2018.
Accessed 7 October 2021, https://www.experian.com/blogs/ask-experian/is-it-safe-
to-use-facebook-to-login-on-other-sites/.
                                          27
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violation. Registrants may also entirely avoid any website that requires registration
at all, as their use of the site may be publicly linked to their registry status.

    86. Despite the ubiquity of social media, some platforms, including Facebook 54
and Instagram 55, ban people convicted of sex offenses from their sites altogether,
and even encourage other users to report such individuals so they can be removed
from the platform. 56 Such blanket bans by social media platforms simply adopt the
false assumption that all such individuals pose a lifelong public safety risk – an
assumption that is reinforced by state registries. People with past sex offenses
convictions are thus excluded from many of the major digital fora that are used
today for economic, social, political and commercial exchanges.

Public safety and recidivism consequences

  87. Research shows that public labeling can also lead to increased crime and be
detrimental to public safety. As described by one scholar: “A stigmatized individ-
ual may work to supersede the stigma through excelling at something else; he may
seek to capitalize on the stigma for some sense of gain (although this does not
seem probable for registered sex offenders). On the other hand, an offender may
feel that his case is helpless and he will always be seen in a negative light, and thus
reoffending would make little difference… In this last case, the chances for
recidivism would be greatest.” 57

  88. Empirical research on labeling theory has documented the so-called self-
fulling prophecy that can lead to future offending and harm public safety. Research
involving 95,919 men and women found that those people who were formally,




   54
       Facebook Terms of Service, Accessed 10 October 2021,
https://www.facebook.com/terms.php.
    55
       Instagram Terms of Use, Accessed 10 October 2021,
https://help.instagram.com/581066165581870.
    56
       Facebook Help Center, “How can I report a convicted sex offender on
Facebook?” Accessed 7 October 2021,
https://www.facebook.com/help/210081519032737.
    57
       Tewksbury, Richard. “Collateral consequences of sex offender
registration.” Journal of Contemporary Criminal Justice 21, no. 1 (2005): 67-81 at
69.
                                          28
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publicly labeled as a criminal were significantly more likely to recidivate within
two years than those who were not. 58

   89. Researchers have identified several mechanisms to explain why labeling
leads to disengagement with society and a higher potential for reoffending.
“Desistance” theories argue that public labels undercut an individual’s ability to
overcome stigmatization. In his study of British ex-convicts, Shadd Maruna argues
that to maintain “abstinence from crime, ex-offenders need to make sense of their
lives” 59 by developing a coherent identity for themselves. He terms this “willful,
cognitive distortion” as “making good.” 60 The highly-influential Maruna studies 61
thus demonstrated that personal agency—though difficult to measure or operation-
alize—was key in successful desistance.

   90. I collaborated with Dr. Maruna to examine his theory in light of the digital
transformation and online disclosures of criminal records. Our study found that
internet-based stigma, in particular, limits the personal agency inherent in
desistance, hindering the necessary cognitive and personal transformations for
desistance from crime. 62

Vigilantism & Digilantism

   91. Researchers have documented vigilantism against registrants, including
stalking, threats, harassment, and violence. 63


   58
      Chiricos, Ted, Kelle Barrick, William Bales, and Stephanie Bontrager, “The
Labeling of Convicted Felons and its Consequences of Recidivism,” Criminology
45, no. 3 (August 2007): 547.
   59
      Maruna, Shadd. Making Good (Washington, DC: American Psychological
Association, 2001), 7.
   60
      Maruna, Making Good, 9.
   61
      The researcher’s entire body work on this topic has been cited 20,019 times
as of October 7, 2021:
https://scholar.google.com/citations?user=e0qdrFUAAAAJ&hl=en&oi=sra
   62
      Lageson, Sarah Esther, and Shadd Maruna. “Digital degradation: Stigma
management in the internet age.” Punishment & Society 20, no. 1 (2018): 113-133.
   63
      Tewksbury, Richard. “Collateral consequences of sex offender
registration.” Journal of Contemporary Criminal Justice 21, no. 1 (2005): 67-81 at
76; Williams, Monica. The Sex Offender Housing Dilemma. New York University
Press, 2018 at 1.
                                         29
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   92. In my research, I use the term “digilantism” to describe how vigilante
activities targeted toward people with criminal records increasingly occur online as
information becomes more easily accessible or inadvertently discovered by internet
users. 64

  93. In the case of the Michigan registry, the risk of vigilantism may be increased
by the interface of the registry website, which allows for browsing and address
searching, including for places of employment. This may also lead to other conse-
quences, such as when landlords and human resources officials are tipped off by
neighbors or fellow employees about the registration and internet publication of a
rental property or workplace address.

   94. People who appear in registries are also vulnerable to “pedophile hunting”
groups, which are often organized on social media platforms. 65 For instance, the
hashtag #shootyourlocalpedophile on Twitter and TikTok reveal substantial social
media activity around using public registry information to identify, shame, and
threaten real life harm to registrants. 66

   95. Digilantism concerns have caused some criminal justice agencies to change
policies regarding the availability of personally identifying information in online
records. For example, the Arizona Department of Corrections has removed dates of
birth from inmate rosters after noting that “some ADC inmates have recently been
victims of identity theft and fraud.” 67 Several police departments have ended the
practice of posting pre-arraignment information to social media and websites. 68

   64
      Lageson, Digital Punishment at 91.
   65
      Purshouse, Joe. “‘Paedophile Hunters’, Criminal Procedure, and Fundamental
Human Rights.” Journal of Law and Society 47, no. 3 (2020): 384-411;
Kozlowska, Hannah. “There’s a global movement of Facebook vigilantes who hunt
pedophiles.” Quartz July 24, 2019. https://qz.com/1671916/the-global-movement-
of-facebook-vigilantes-who-hunt-pedophiles/
   66
      See, for instance, on Twitter
https://twitter.com/hashtag/shootyourlocalpedophile
   67
      Arizona Department of Corrections. “Using Inmate Search.”
https://corrections.az.gov/public-resources/inmate-datasearch/using-inmate-
datasearch.
   68
      Bidgood, Jess. “After Arrests, Quandary for Police on Posting Booking
Photos.” New York Times June 26, 2015.
https://www.nytimes.com/2015/06/27/us/after-arrests-quandary-for-police-on-
posting-booking-photos.html.
                                        30
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The San Francisco Police Department recently banned the release of mugshots to
prevent a “potentially negative outcome for justice-involved persons” before their
conviction, even though California law deems arrestee information as public
record. 69 Criminal courts have installed software to block search engine indexing
and have extensive strategies for redaction and privacy policies. 70

The Sixth Circuit Has Noted the Vastly Increased Harms of State-Sponsored
Internet Disclosures.

   96. Federal courts are beginning to recognize the harms of internet-based
disclosures of state records of many types. The case of mugshots is illustrative.
Although Courts have long recognized the stigmatization of mugshots, they have
recently begun to address their significance in a digital media context. Most
notable was the Sixth Circuit’s decision in Detroit Free Press, Inc. v. Department
of Justice (Free Press II), 829 F.3d 478 (6th Cir. 2016) (en banc), to reverse its
earlier decision in Detroit Free Press, Inc. v. Department of Justice (Free Press I),
73 F.3d 93 (6th Cir. 1996).

   97. In 1996, the Free Press I court ruled that the Freedom of Information Act
(FOIA) requires the release of booking photos because defendants lack any privacy
interest in their photos.

  98. Twenty years later, the en banc court overruled this decision, finding instead
that individuals do enjoy a non-trivial privacy interest. Technology played a key
role in the majority’s argument, with the judges explaining that potential employ-
ers and other acquaintances may easily access booking photos on these websites,
“hampering the depicted individual’s professional and personal prospects.” 71



   69
      San Francisco Police Department. Department Notice 20-112. 07/01/20.
https://www.sanfranciscopolice.org/sites/default/files/2020-
07/SFPDDN20.112.20200701.pdf.
   70
      Robertson, Jordan. “AP Impact: When Your Criminal Record Isn’t Yours,”
Associated Press, December 16, 2011; Clarke, Thomas M. “Privacy and Public
Access Policies: Slides to accompany 2017 NACM Annual Conference
presentation ‘New Guidelines for Public Access to Court Records: What has
Changed?’” National Center for State Courts (2017).
https://ncsc.contentdm.oclc.org/digital/collection/tech/id/879.
   71
      Free Press II, 829 F.3d at 482.
                                         31
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   99. In a concurring opinion, Chief Judge Cole observed that: “Twenty years ago,
we thought that the disclosure of booking photographs, in ongoing criminal pro-
ceedings, would do no harm. But time has taught us otherwise. The internet and
social media have worked unpredictable changes in the way photographs are stored
and shared. Photographs no longer have a shelf life, and they can be instantaneous-
ly disseminated for malevolent purposes. Mugshots now present an acute problem
in the digital age: these images preserve the indignity of a deprivation of liberty,
often at the (literal) expense of the most vulnerable among us. Look no further than
the online mugshot-extortion business.” 72

Conclusion: Given the realities of our modern digital age and how the Mich-
igan registry is configured, the registry promotes extreme public shaming,
severely impacts registrants’ ability to participate in on-line economic, social,
and political life, and damages registrants’ ability to obtain housing, employ-
ment and social supports.

  100. In sum, the internet as it exists today has dramatically changed the form,
function, and reach of registries. The manner in which registry information is
posted and re-posted through the Michigan portal creates a disproportionate level
of public shaming, particularly when imposed on people who present no public
safety risk.

  101. Because inclusion on a registry lacks individualized review, registries
present all registrants as equally risky and in need of continued monitoring and
public oversight.

   102. From a public safety standpoint, digitally accessible records also paint an
inaccurate picture of an individual by inferring a likelihood to recidivate, regard-
less of individual risk factors or the amount of time that has passed since the
registrable offense.

  103. Because of how the internet and data-sharing capabilities have evolved, as
well as the manner in which registries present registrants as posing significant
public safety risk, the harms of being branded a sex offender in the digital age are
extreme.




   72
        Ibid.
                                         32
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Compensation

I have provided this expert declaration pro bono.

Dated: December 5, 2021



______________________

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                      Attachment 1:
             C.V. of Dr. Sarah Esther Lageson
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                                                      Sarah Esther Lageson
                                                    sarah.lageson@rutgers.edu
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Academic Positions
   Rutgers University-Newark, School of Criminal Justice
   Associate Professor                                                                   2021-
   Assistant Professor                                                                   2015-2021

   American Bar Foundation
   Affiliated Scholar                                                                    2021-
   JPB Foundation Access to Justice Faculty Scholar                                      2020-2021

   Universitat Pompeu Fabra School of Law, Barcelona, Spain
   Visiting Researcher                                                                   2019


Education
   Rutgers Law School                                                                    2022 (expected)
   JD; Certificate in Criminal Law & Criminal Procedure

   University of Minnesota, Twin Cities, Department of Sociology                         2015
   PhD in Sociology

   University of Minnesota, Twin Cities, Department of Sociology                         2012
   MA in Sociology

   Washington University in St. Louis, School of Arts & Sciences                         2007
   BA in Anthropology, BA in History


Books
   2020          Sarah Lageson. 2020. Digital Punishment: Privacy, Stigma, and the Harms of Data-Driven
                 Criminal Justice. Oxford University Press.
                         Media: Slate, The Markup, The Crime Report, Team Human, Digital Privacy News, Collateral Consequences
                         Resource Center, ApexArt
                         Reviews: Punishment & Society, Criminal Justice Review, Journal of Constitutional History, Security Dialogue,
                         Drexel Magazine, Journal of Sociology & Social Welfare, Surveillance & Society, Law Library Journal
                         Awards: 2021 Michael J. Hindelang Outstanding Book Award for most outstanding contribution to criminology;
                         2021 Law and Society Association Jacob Prize Honorable Mention; Privacy Law Scholars Conference Junior
                         Scholar Award (for Chapter 5)

    2018         Kyle Green and Sarah Lageson. 2018. Give Methods a Chance. New York: W.W. Norton.
                         Reviews: Teaching Sociology. 2019. 47(2): 161–163.



Peer Reviewed Publications
    Forthcoming Sarah Lageson. “Digital Criminal Record Surveillance and Stigma.” Annual Review of Criminology
                Vol 5.

    Forthcoming Leslie Schneider, Mike Vuolo, Sarah Lageson, and Chris Uggen. "Before and After Ban the Box:
                Who Complies with Anti-Discrimination Law?” Law & Social Inquiry.

    2021          Sarah Lageson, Elizabeth Webster and Juan Sandoval. “Digitizing and Disclosing Personal Data: The
                  Proliferation of State Criminal Records on the Internet.” Law & Social Inquiry 46(3): 635-665.
                      Media: Vice, The Crime Report, Digital Privacy News, This Week in Sociological Perspectives Podcast, Criminal Legal
                      News

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2020      Alessandro Corda and Sarah Lageson. “Disordered Punishment: Workaround Technologies of
          Criminal Records Disclosure and the Rise of a New Penal Entrepreneurialism.” British Journal of
          Criminology 60(2):245-264.
             Featured in the Collateral Consequences Resource Center blog

2020      Valerio Baćak, Sarah Lageson, and Kathleen Powell. “Fighting the Good Fight: Why Do Public
          Defenders Remain on the Job?” Criminal Justice Policy Review 31:939–961.

2020      Sarah Lageson. “Privacy Loss as Collateral Consequence.” The Annual Review of Interdisciplinary
          Justice Research 9:16-31.

2019      Sarah Lageson, Megan Denver, and Justin Pickett. “Privatizing Criminal Stigma: Experience,
          Intergroup Contact, and Public Views about Publicizing Arrest Records.” Punishment & Society
          21(3): 315–341.

2019      Sarah Lageson, Suzy Maves McElrath, and Krissinda Palmer. “Gendered Public Support for
          Criminalizing ‘Revenge Porn.’” Feminist Criminology 14(5):560-583.

2019      Sarah Lageson. “Digital Legal Subjects and the Use of Online Criminal Court Records for Research.”
          The Elgar Research Handbook on Law and Courts.

2018      Sarah Lageson and Shadd Maruna. “Digital Degradation: Stigma Management in the Internet Age.”
          Punishment & Society 20(1):113-133.

2018      Mike Vuolo, Chris Uggen, and Sarah Lageson. “To Match or Not to Match? Statistical and
          Substantive Considerations in Audit Design and Analysis.” in S. Michael Gaddis, editor, Audit
          Studies: Behind the Scenes with Theory, Method & Nuance. New York: Springer.

2017      Sarah Lageson. “Crime Data, the Internet, and Free Speech: An Evolving Legal Consciousness.” Law
          & Society Review 51(1):8-41.

2017      Mike Vuolo, Sarah Lageson, and Chris Uggen. “Criminal Record Questions in the Era of ‘Ban the
          Box.’” Criminology & Public Policy 16(1):139-165.

2017      Mike Vuolo, Chris Uggen, and Sarah Lageson. “Race, Recession, and Social Closure in the Low
          Wage Labor Market: Experimental and Observational Evidence.” Research in the Sociology of Work
          30:141-183.

2016      Sarah Lageson. “Found Out and Opting Out: The Consequences of Online Criminal Records for
          Families.” The ANNALS of the American Academy of Political and Social Science 665(1):127-141.

2016      Sarah Lageson. “Digital Punishment’s Tangled Web.” Contexts 15(1):22-27. Available online.
          Reprinted in Contexts Reader 3rd Edition, 2018. Syed Ali & Philip N. Cohen, eds. New York: W.W.
          Norton.

2016      Mike Vuolo, Chris Uggen, and Sarah Lageson. “Statistical Power in Experimental Audit Studies:
          Cautions and Calculations for Paired Tests with Dichotomous Outcomes.” Sociological Methods &
          Research 45(2):260-303.

2015      Sarah Lageson, Mike Vuolo, and Chris Uggen. “Legal Ambiguity in Managerial Assessments of
          Criminal Records.” Law and Social Inquiry 40(1):175-204.




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   2014         Chris Uggen, Mike Vuolo, Sarah Lageson, Ebony Ruhland, Hilary Whitham. “The Edge of Stigma:
                An Experimental Audit of the Effects of Low-level Criminal Records on Employment.” Criminology
                52(4):627-654.

   2014         Mike Vuolo, Chris Uggen, and Sarah Lageson. “Taste Clusters of Music and Drugs: Evidence from
                Three Analytical Levels.” British Journal of Sociology 65(3):520-54.


Grants
   2021-2023   Clean Slate Initiative & New Venture Fund, $441,093
               The Impact of Automated Record Clearance on Individuals, Families, and Communities
               Co-Principal Investigator with Elsa Chen and Ericka Adams

   2020-2021   American Bar Foundation/JPB Foundation Access to Justice Scholar Award, $74,000
               Realizing a Clean Slate: Expanding Access and Improving Outcomes for Automated Criminal Record
               Expungement
               Principal Investigator

   2018-2020   National Institute of Justice, New Investigator/Early Career Award, $190,909
               Multi-level Analyses of Accuracy and Error in Digital Criminal Record Data
               Principal Investigator

   2017-2019   Chancellor’s Office Award, Rutgers University, $94,500
               The Nebulous Nature of Criminal Records
               Co-PI with Rob Stewart

   2017        Big Data Analytics Grant Program, Rutgers University, $40,000
               Understanding Systems and Outcomes of Indigent Defense using Big Data
               Co-PI with Valerio Bacak and Lee Dicker

   2017        Chancellor’s Seed Grant, Rutgers University, $31,500
               Social and Administrative Networks in Prison-Based Higher Education
               Co-PI with Sara Wakefield

   2016        Chancellor’s Seed Grant, Rutgers University, $75,000.
               Community Court Mental Health Initiative
               Co-PI with Andres Rengifo

   2016        Chancellor’s Seed Grant, Rutgers University, $25,000
               Criminal Justice Data Practices in Newark
               Principal Investigator

   2015        Social Cohesion and Technology Grant, Univ. of MN, $2,500
               ‘Give Methods a Chance’ Podcast Development
               Co-PI with Kyle Green

   2014-2015   Doctoral Dissertation Fellowship, University of Minnesota, $22,500

   2013-2014   Bilinski Educational Foundation Dissertation Fellowship, $25,500

   2011-2013   Graduate Digital Media Fellowship, University of Minnesota, $45,000




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Journal Editing
   2022         Journal of Contemporary Criminal Justice, Special Issue: Violence, Voice, and Incarceration (special
                issue of submissions written by people who are incarcerated).
                Co-editor with Todd R. Clear and Jennifer Yang.


Manuscripts Under Review and In Preparation
“Satan’s Minions” and “True Believers”: How Criminal Defense Attorneys’ Employ Quasi-Religious Rhetoric,” with
Elizabeth Webster, Kathleen Powell, and Valerio Baćak. Conditionally accepted at Justice System Journal

“Criminal Records, Clean Slates, and the Role of Data Privacy,” with Alessandro Corda. Under review at Law and Society
Review

“Patchwork Disclosure: Divergent Public Access and Personal Privacy Across Criminal Record Disclosure policy in the
United States,” with Juan Sandoval. Under review at Law & Policy

“The Stress of Injustice: Public Defenders and the Frontline of American Inequality,” with Kathleen Powell and Valerio
Baćak. Under review at American Sociological Review

“Digital Accusation, Virtual Punishment, and Due Process.” Invited submission to Illinois Law Review

“Accusation, Supervision, and Surveillance Before a Conviction,” with Lorena Avila Jaimes. Invited book chapter in
Punishment, Probation, and Parole: Mapping Out Mass Supervision

“Criminal Record Data Commodities, Self-Discipline, and Techno-Administrative Injustice in Criminal Record
Expungement.” In preparation for submission.

“The Problem with Criminal Records,” with Robert Stewart. In preparation for submission.

“Surveillance Deputies,” with Sarah Brayne, Karen Levy, and Lauren Kilgour. In preparation for submission.


Public Writing & Reports
   2021         How the Criminal Justice System Deploys Mass Surveillance on Innocent People. Vice.

    2020          Companies accused of crimes get more digital privacy rights than people under new Trump policy
                  (with Liz Chiarello). The Conversation.

    2020          The Perils of Zoom Justice. The Crime Report.

    2020          How criminal background checks lead to discrimination against millions of Americans. Washington
                  Post.

    2020          Mugshots don’t belong on search engines. San Francisco Chronicle.

    2020          The Purgatory of Digital Punishment. Slate.

    2020          The Chan-Zuckerberg Initiative funds Clean Slate policy. So why won't Facebook take down
                  mugshots? The Appeal.

    2020          Small businesses just got a $300B bailout but many who need a second chance won’t get a dime (with
                  Colleen Chien). New Jersey Star Ledger.

    2020          The Problem with ‘Clean Slate’ policies: Could broader sealing of criminal records hurt more people
                  than it helps (with Jen Doleac). Niskanen Center.
                                                           4
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    2020         The Criminal Justice System’s Big Data Problem. Oxford University Press Blog.

    2019         Model Law on Non-Conviction Records (advisor). Collateral Consequences Resource Center.

    2019         It’s Time for the Digital Mug Shot Industry to Die. Slate.

    2019         Privacy Concerns Don’t Stop People from Putting Their DNA on the Internet to Help Solve Crimes.
                 The Conversation.

    2019         There’s No Such Thing as Expunging a Criminal Record Anymore. Slate.

    2019         It’s Time to Address the Damage of a ‘Criminal’ Digital Reputation (with Jordan Hyatt). Collateral
                 Consequences Resource Center.

    2019         Can a Criminal Record Ever Be Fully Expunged? Pacific Standard.

    2019         Policy Proposals for the 2019 Legislative Session. Scholars Strategy Network.
                            • Provide Individual Access to Personal Criminal Records
                            • Enforce Private Sector Compliance with Criminal Record Expungement Orders”
                            • Reclassify Mugshots as Closed, Private Records

    2019         Criminal Background Checks for Employment Screening. New Jersey State Office of Innovation,
                 Future of Work Task Force.

    2017         Online Criminal Records & Legal Consciousness Theory. Law & Society Review Blog.

    2016         Op-Ed: The Downside of Highlighting Crime on Social Media. Minneapolis Star-Tribune.

    2016         Briefing: The Harmful Effects of Online Criminal Records. Scholars Strategy Network.

    2014         The Enduring Effects of Online Mug Shots. The Society Pages.

    2014         Health, Science, and Shared Disparities. The Society Pages

    2012         Correcting American Corrections. The Society Pages.

    2012         Love, Family and Incarceration: A Conversation with Megan Comfort. The Society Pages.

    2012         Social Scientists Studying Social Movements. With Kyle Green and Sinan Erensu. The Society Pages.


Book Chapters & Reviews
   2021        “Digital Punishment.” In Fundamental Rights and Criminal Procedure in the Digital Age. Sao Paolo,
               Brazil: InternetLab.

    2021         “Public Accusation on the Internet.” With Kateryna Kaplun. In Media and Law: Between Free Speech
                 and Censorship, Sociology of Crime, Law, and Deviance, Volume 26. Deflem, Mathieu and Derek
                 M.D. Silva, eds. Bingley, UK: Emerald Publishing.

    2021         “Book Review: Captivating Technology: Race, Carceral Technoscience, and Liberatory Imagination in
                 Everyday Life edited by Ruha Benjamin.” Contemporary Sociology 50(1): 28-29.

    2021         “Studying Surveillance and Tech Through ‘Digital Punishment’" in Society, Ethics & The Law: A
                 Reader, David A. Mackey and Kathryn M. Elvey, eds. Burlington, MA: Jones & Bartlett.
                                                           5
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   2020        “Book Review: The Digital Street by Jeff Lane.” American Journal of Sociology 125(4):1156-1158.

   2018        “The Politics of Public Punishment.” Criminology & Public Policy 17(3): 635-642.

   2018        “Book Review: Policing and Social Media: Social Control in an Era of New Media by Christopher J.
               Schneider.” Contemporary Sociology 47(2):217-219.

   2017        “Criminal Records,” with Christiane Schwarz. Oxford Bibliographies in Criminology. Ed. Beth M.
               Huebner. New York: Oxford University Press.

   2015        “Book Review: The Eternal Criminal Record by James B. Jacobs.” The Canadian Journal of Crime
               and Criminal Justice. Available online.

   2015        “Music and the Quest for a Tribe.” Getting Culture. New York: W.W. Norton

   2014        “Correcting American Corrections, with Francis Cullen, David Garland, David Jacobs, and Jeremy
               Travis.” Crime and the Punished. New York: W.W. Norton.

   2014        "Discovering Desistance," with Sarah Shannon. Crime and the Punished. New York: W.W. Norton.

   2013        “How Work Affects Crime – and Crime Affects Work – Over the Life Course,” with Chris Uggen.
               Handbook of Life Course Criminology, edited by Marvin Krohn and Chris Gibson. New York:
               Springer.

   2013        “Laughter and the Political Landscape,” with Sinan Erensu and Kyle Green. The Social Side of Politics.
               New York: W.W. Norton.

   2011        “The Wire Goes to College,” with Kyle Green and Sinan Erensu. Contexts (10)3:12-15.


Awards
   2021        Michael J. Hindelang Outstanding Book Award, American Society of Criminology

   2021        Herbert Jacob Book Prize, Honorable Mention, Law & Society Association

   2019        New Jersey State Office of Innovation Research Award, $2,500

   2018        Privacy Law Scholars Conference Junior Scholar Paper Award, $2,500

   2017        University of Minnesota Best Dissertation Award, $1,000

   2012        Ron Anderson Technology and Social Cohesion Award, $2,500

   2011-2013   Professional Development Award, University of Minnesota, $3,000

   2010        Public Sociology Award, University of Minnesota

   2010        Graduate Research Partnership Program Award, University of Minnesota, $4,000

   2010        Academic Technology Award, Univ. of Minn., Office of Information Technology, $3,000

   2008        Segal Americorps Education Award, $5,000

   2007        Helen & Isaac Izenberg History Writing Award, Washington University in St. Louis
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Expert Testimony
   2021        ACLU Michigan and United States District Court, Eastern District of Michigan

    2021         California State Assembly Committee on Privacy and Consumer Protection, AB-1475 Law
                 Enforcement-Social Media Assembly Bill

    2020         United States District Court, Central District of California, Doe v. Barr et al.

    2020         United States District Court, District of New Mexico, N. et al v. Alamogordo Police Department et al

    2019         United States District Court, Eastern District of Pennsylvania, Taha v. Bucks County Correctional
                 Facility

    2018         New Jersey State Assembly Judiciary Committee, A-3620 Expedited Expungement Assembly Bill


Invited Presentations
    2022         UC-Berkeley Law, Center for the Study of Law and Society
    2022         Columbia University Sociology
    2021         Detroit Science Gallery
    2021         County of Santa Barbara Public Defender
    2021         Poynter Institute
    2021         SEARCH: National Consortium for Justice Information and Statistics
    2021         Massachusetts Committee for Public Counsel Services
    2021         Society for the Study of Social Problems Book Panel
    2021         RAND Corporation and the Arnold Foundation
    2021         Privacy Law Scholars Conference
    2021         Texas A&M Law School
    2021         Department of Criminal Justice, Temple University
    2021         The Young Women's Leadership School of Astoria, NYC
    2021         Department of Sociology, University of Hong Kong
    2021         New York State Youth Justice Institute
    2021         Zicklin Center for Corporate Responsibility at Baruch College, CUNY
    2020         Philadelphia District Attorney’s Office
    2020         Department of Criminology and Criminal Justice, University of Maryland
    2020         Baruch College, the City University of New York
    2020         InternetLab perquisa em direito e tecnologia Internation (Brazil) Conference on Fundamental Rights
                 and Criminal Procedure in the Digital Age (Keynote)
    2020         McCourt School of Public Policy, Georgetown University
    2020         Cleveland Legal Aid Society
    2020         Data Science for Public Service Meetup, Atlanta Regional Commission
    2020         Department of Criminology, Georgia State University
    2020         Crime, Law & Deviance Working Group, Dept of Sociology, UT-Austin
    2020         American Bar Foundation Seminar Series
    2020         School of Criminal Justice, University of Cincinnati (postponed)
    2019         Student-Invited Speaker, University of California-Irvine
    2019         Sociology Workshop, University of Minnesota
    2019         International Seminar, Universitat Pompeo Fabra, Barcelona, Spain
    2019         Digitizing Justice Conference (Keynote), University of Winnipeg
    2019         Drug Policy Alliance, New York City
    2018         Tech/Law Colloquium, Cornell University
    2018         Amsterdam Privacy Conference
    2018         Department of Public Policy, Rochester Institute of Technology
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    2018         Department of Sociology, SUNY-Brockport
    2018         Measures for Justice, Rochester NY
    2018         Sociology Colloquium, Washington University in Saint Louis
    2018         Media Studies Colloquium, Queens College New York
    2018         Technology, Law and Society Institute, University of California-Irvine
    2018         Privacy Law Scholars Conference, Washington DC
    2018         Automated Justice Workshop, Collegium Helveticum, Zurich
    2018         LSA Punishment & Society Digital Speaker Series
    2018         The University of Manchester Centre for Criminology and Criminal Justice
    2018         Queens University Belfast School of Law
    2017         Law, Crime & Deviance Workshop, New York University Sociology
    2015         Robina Institute, University of Minnesota Law School, Minneapolis, MN.


Courses Designed & Taught
Rutgers University
CJ 653 Criminal Justice Policy PhD Program Seminar
CJ 652 Law & Society PhD Program Seminar
CJ 653 Mixed Methods PhD Seminar (co-I with Sara Wakefield)
CJ 529 Research & Evaluation MA Program Seminar
CJ 202 Constitutional Issues in Criminal Justice
CJ 102 Introduction to Criminal Justice

University of Minnesota
SOC 4108 Current Issues in Crime Control
SOC 4161 Criminal Law in American Society
SOC 3101 Introduction to American Criminal Justice


Student Advising
Dissertation Advising
  Lorena Ávila Jaimes
  Kateryna Kaplun
  Katherine Bright

Dissertation Committees
 Brandan Turchan
 Chris Chukwedo
 Christiane Schwarz
 Vijay Chillar
 Amanda D’Souza
 Lauren Kilgour (Cornell PhD 2021, current Postdoctoral Research Associate at Princeton)
 Elizabeth Webster (Rutgers PhD 2018, current Assistant Professor at Loyola University Chicago)

Empirical Paper Committees
  Christiane Schwarz (chair)
  Kateryna Kaplun (chair)
  Katherine Bright
  Brandan Turchan
  Sofia Flores

Undergraduate Honors Theses
 Maram Tai-Elkarim



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Service
University and Academic Service
    2021-        Rutgers University Research & Professional Development Committee Chair
    2021-        Rutgers University Undergraduate Bridge Program Committee Chair
    2020-        Rutgers Law School Criminal Law Society, Evening Student Representative
    2019-2021 Rutgers Program on Learning & Teaching Faculty Governance Committee
    2018-2021 Rutgers University Research & Professional Development Committee
    2018-        Law & Society Association, CRN #37 Tech/Law/Society Research Network Chair
    2015-2020 Rutgers University M.A. Program Committee
    2017-2018 American Society of Criminology (ASC) Program Committee
    2017-2018 Rutgers University Faculty Hiring Committee
    2016-2018 National Science Foundation Research Experience for Undergraduates Mentor
    2016-2017 New Jersey Scholarship and Transformative Education in Prisons Committee
    2015-2016 Rutgers Engaged Scholarship & New Professoriate Committee (chair)
    2013-2014 University of Minnesota Promotion, Tenure & Salary Committee
    2010-2011 University of Minnesota Sociology Research Institute Committee

Legal & Non-Profit Service
   2021         New York Legal Assistance Group SDNY Federal Pro Se Clinic, Legal Intern
   2021         New Jersey Conviction Review Unit, Actual Innocence Project, Legal Volunteer
   2021         New York Office of the Appellate Defender, Legal Intern
   2021-        Justice Catalyst, Consultant
   2020-        Good Call NYC Emergency Arrest Hotline, Consultant
   2018-        Center for Advancing Correctional Excellence Board Member, George Mason Univ.
   2018-        Crime & Justice Research Alliance (CJRA) Expert
   2018-        National Incarceration Association (NIA) Expert Advisor
   2015         Minneapolis Police Officer Interview Project
   2014         Crime Victim Service Access Project
   2012         “Mind the Gap” Prisoner Reentry Project
   2012         Seward Towers Housing Complex Community Survey
   2010-2012 ‘Families in Focus’ Prison Program, Minnesota Department of Corrections
   2010         Domestic Violence Research Initiative Report for United Way
   2007-2011 Prisoner Re-Entry Family Strengthening Project, Council on Crime and Justice
   2008-2010 Healthy Educational Lifestyles Project, Minnesota Department of Corrections
   2009         Minnesota FATHER Project Program Analysis
   2008         The State of Fatherhood Programming, Minnesota Fathers & Families Network

Review
     American Journal of Sociology, American Sociological Review, Criminology, Criminal Justice Policy Review,
     European Journal of Criminology, Feminist Criminology, Humanities and Social Sciences, The Information Society,
     Journal of Black Studies, Journal of Computer Mediated Communication, Journal of Research in Crime and
     Delinquency, Justice Quarterly, Law & Policy, Law & Social Inquiry, Law & Society Review, Punishment &
     Society, RAND, SAGE Open, Springer, Qualitative Sociology, Social Forces, Social Problems, Sociological Theory

     National Science Foundation, Dutch Research Council (NWO), Independent Social Research Foundation

Editorial
       2016-2019    Editorial Board, Contexts Magazine
       2014-2015    Graduate Editorial Board, Law & Society Review
       2010-2015    Graduate Editorial Board, The Society Pages
       2009-2011    Graduate Editorial Board, Contexts Magazine




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Media/Production
      2015-2018     Creator, Producer and Host, Give Methods a Chance Social Science Podcast
      2014-2015     Creator, Producer and Host, Office Hours Social Science Podcast
      2007-2015     Documentary Producer, On Air Host. KFAI Community Radio, Minneapolis MN

Community
     2017-2018      Prison-based Tutor, Petey Greene Foundation Prison Education Program
     2008-2009      McNair Scholars Program Research Mentor, University of Minnesota
     2008           Instructor, C-Dreams Photography Class for Children of Incarcerated Parents
     2007           Mentor, Youth News Initiative. Minneapolis, MN
     2007           Mentor, International Women’s Day Radio Programming. Minneapolis, MN


Conference Presentations
      2021         Administrative and Technological Injustice in the Expungement Process. American Sociological
                   Association Annual Meeting, Chicago
      2021         Criminal History Information, Automated Clean Slates and the American Way of Data Privacy.
                   With Alessandro Corda. Privacy Law Scholars Conference (virtual)
      2021         Author Meets Reviewer: Predict & Surveil and Digital Punishment. With Sarah Brayne, Mona
                   Lynch, Matthew Clair, and Keith Guzik. Law and Society Association Annual Meeting (virtual)
      2019         Technology, Privacy, and Criminal Records: Innovations and Challenges in Clean Slate and
                   Expungement Policy, American Society of Criminology Annual Meeting, San Francisco
      2019         Tools for Communicating Sociology Outside the Discipline: What Works, What Doesn't Work, and
                   What's Promising, American Sociological Association Annual Meeting, New York City
      2018         Criminal Records as Big Data Commodity. American Society of Criminology Annual Meeting,
                   Atlanta
      2018         Error in Criminal Justice Data Across Public & Private Platforms. American Society of Criminology
                   Annual Meeting, Atlanta
      2018         The Weight of Public Service: Occupational Stress and Wellbeing Among Public Defenders.
                   American Society of Criminology Annual Meeting, Atlanta. With Valerio Bacak and Kathleen
                   Powell
      2018         Surveillance and Social Control Through the Collection and Distribution of Mug Shots in the U.S.
                   American Society of Criminology Annual Meeting, Atlanta. With Sarah Muskovitz
      2018         Mugshot Distribution in the U.S.: A Sociolegal Approach. Law & Society Association Annual
                   Meeting, Toronto. With Anna Banchik and Sarah Muskovitz
      2018         Satan’s Minions & True Believers. Law & Society Association Annual Meeting, Toronto. With Liz
                   Webster and Kathleen Powell
      2017         Intersecting Roles of Gender, Race and Skin Tone in Sentencing: Findings from Two Million
                   Records. American Society of Criminology Annual Meeting, Philadelphia. With Valerio Bacak
      2017         Assessments of Public Defender Attrition.” American Society of Criminology Annual Meeting,
                   Philadelphia. With Valerio Bacak and Kathleen Powell
      2017         Digital Cultures of Control & The Field of Online Crime Reporting. American Sociological
                   Association Annual Meeting, Montreal
      2017         Banning the Box, Keeping the Stigma? Sustaining Attitudes Post Ban-the-Box. American
                   Sociological Association Annual Meeting, Montreal. With Lesley Schneider, Mike Vuolo, and Chris
                   Uggen.
      2017         From Handshakes to Mouse Clicks: The Technological Transformation of Commercial Bail. Law
                   and Society Association Annual Meeting, Mexico City. With Josh Page
      2017         Attrition in Public Defenders Offices. Law and Society Association Annual Meeting, Mexico City.
                   With Valerio Bacak
      2016         Uses, Abuses, and Error in Criminal History Data Across Platforms. American Society of
                   Criminology Annual Meeting, New Orleans
      2016         Before and After Ban the Box: Employer Responses in Minnesota. American Society of
                   Criminology Annual Meeting, New Orleans. With Lesley Schneider, Mike Vuolo, and Chris Uggen


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2016      Digital Punishment in Online American Media. International Sociology Association Conference,
          Vienna, Austria
2016      Criminalizing Revenge Porn. Internet Law Works in Progress Conference, New York Law School.
2015      Tough on Crime, Tough on Families? Criminal Justice and Family Life in America. American
          Society of Criminology Annual Meeting, Washington, DC
2015      Legislating Revenge Porn: Protecting Victims and Preserving Civil Liberties. American Society of
          Criminology Annual Meeting, Washington, DC
2015      The Consequences of Online Criminal Records for Children and Families.
          Tough on Crime, Tough on Families? Criminal Justice & Family Life Conference, Ithaca, NY
2014      Digital Punishment: The Production and Consequences of Online Crime Reporting. Sociology
          Workshop Talk, University of Minnesota, Minneapolis, MN
2014      The Effects of Online Reader Comments on Crime News. American Society of Criminology Annual
          Meeting, San Francisco, CA
2014      How Do Employers Ask about Criminal Records on Entry-Level Job Applications?
          American Society of Criminology Annual Meeting, San Francisco, CA.
          with Mike Vuolo and Chris Uggen
2014      Mass Media and the Public Sphere, Invited Discussant. Midwest Sociological Society Annual
          Meeting, Omaha, NE
2014      Conceptions of the First Amendment and Online Crime Reporting. Law and Society Association
          Annual Meeting, Minneapolis, MN
2013      The Construction of Crime through News and Blogging. American Society of Criminology Annual
          Meeting, Atlanta, GA
2013      Statistical Power in Experimental Audit Studies: Cautions and Calculations for Paired Tests with
          Dichotomous Outcomes. American Society of Criminology Annual Meeting, Atlanta, GA
2013      Punishment, Society and Journalism: Interviews with Bloggers and Journalists. Law and Society
          Association Annual Meeting, Boston, MA
2013      Critical Dialogue: New Media and Sociology. Society for the Study of Social Problems Annual
          Meeting, New York, NY
2013      Public Sociology Online. Media Sociology Pre-Conference to ASA Annual Meeting, New York,
          NY
2013      The Construction of Crime through News and Blogging. American Society of Criminology Annual
          Meeting, Atlanta, GA
2013      The Effect of the Great Recession on Entry-Level Job Applicants by Race: A Happenstance Field
          Experiment. American Sociological Association Annual Meeting, New York, NY, with Mike Vuolo
          and Chris Uggen
2013      Statistical Power in Experimental Audit Studies: Cautions and Calculations for Paired Tests with
          Dichotomous Outcomes. American Criminological Society Annual Meeting, Atlanta, GA
2012      Evaluation of a Federally-Funded Prisoner Reentry Program. American Society of Criminology
          Annual Meeting Chicago, IL, with Ebony Ruhland
2012      Employer Perspectives on Criminal Records. Midwest Sociological Society Annual Meeting,
          Minneapolis, MN, with Mike Vuolo and Chris Uggen
2011      Music and Drugs: Evidence from Three Analytical Levels. American Sociological Association
          Annual Meeting, Las Vegas, NV
2011      Qualitative Evidence for Employer Decision-Making for Applicants with Criminal Records.
          Sociology Research Institute, University of Minnesota: Minneapolis, MN
2010      Employer Decisions Regarding Criminal Records: A Comparison of Self-Reported and Observed
          Behavior. American Society of Criminology Annual Meeting, San Francisco, CA., with Mike Vuolo
          and Chris Uggen




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Media
   2021      Deseret News, “Neighborhood, watched.” 8/31/21
             LA Times, “Police take ‘wanted’ posters onto social media, nabbing suspects and ruining lives.”
                6/29/21
             Legal Talk Today, “Citizen Sleuths: What happens when amateur crime investigators go too far?”
                6/11/21
             USA Today, “Death threats to vitriol: New England families pay a price in public fights for justice”
                6/10/21
             CNN, “Helicopters, a patrol car and virtual bodyguards: Inside Citizen's scattered push to upend public
                safety.” 6/3/21
             Milford Daily News, “Public pressure is influencing Mikayla Miller’s death investigation. Should it
                have to?” 6/3/21
             The Sunday Times, “US Confidential: Live crime apps fuel fear and vigilantism in New York City.”
                5/28/21
             The Marshall Project, “Does Banning People with Felonies on Dating Apps Really Make Anyone
                Safer?” 5/20/21
             The Guardian, “Citizen: crime app falsely accused a homeless man of starting a wildfire.” 5/19/21
             The Crime Report, “False Accusation by Citizen Crime App Highlights Dangers.” 5/19/21
             Criminal Legal News, “Online Records Impose Digital Punishment for Millions.” 5/15/21
             Pew Stateline, “Online, mug shots are forever. Some states want to change that.” 5/10/21
             Digital Privacy News, “Disclosing criminal records on the internet creates ‘digital punishment.’”
                4/26/21
             NJ.com “Why it’s still so hard to wipe away a criminal record despite promise of a law Murphy
                signed.” 4/26/21
             The Guardian, “Tinder’s plan for criminal record checks raises fears of ‘lifelong punishment.’” 4/13/21
             Tech Policy Press, “Recommendations to End Virtual Stop and Frisk Policing on Social Media.”
                4/13/21
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